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                          EXHIBIT "1"
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         Fidelity National Title Company
         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                               Issuing Policies of Fidelity National Title Insurance Company

                                                                              ORDER NO.: 00353875-990-TEO-MJ1
                                                                                                    LOAN NO.:
Title Officer: Joseph Mansueto
Phone: (310) 620-5522
Fax: (310) 316-7822
Email: JoesTeam@fnf.com

Glen Oaks Escrow
13949 Ventura Blvd, #320
Sherman Oaks, CA 91423

ATTN:              Marcine Kline
YOUR REF:          2929 Amethyst St.

PROPERTY:          Vacant Land, , CA 90032


                                        AMENDED PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company
hereby reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title
insurance describing the land and the estate or interest therein hereinafter set forth, insuring against loss which
may be sustained by reason of any defect, lien or encumbrance not shown or referred to as an exception herein
or not excluded from coverage pursuant to the printed Schedules, Conditions and Stipulations or Conditions of
said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or
policies are set forth in Attachment One. The policy to be issued may contain an arbitration clause. When the
Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at
the option of either the Company or the Insured as the exclusive remedy of the parties. Limitations on Covered
Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title Insurance which establish a Deductible
Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in Attachment One.
Copies of the policy forms should be read. They are available from the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed
prior to the issuance of a policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance
Company, a Florida corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in
Attachment One of this report carefully. The exceptions and exclusions are meant to provide you with
notice of matters which are not covered under the terms of the title insurance policy and should be
carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects and encumbrances affecting title to the land.
Countersigned by:


Authorized Signature




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         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                                        AMENDED PRELIMINARY REPORT


EFFECTIVE DATE:                       May 25, 2022 at 7:30 a.m., Amended: June 13, 2022, Amendment No.

ORDER NO.: 00353875-990-TEO-MJ1

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO
         COVERED BY THIS REPORT IS:

         A FEE

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Jinzheng Group (USA) LLC, a California Limited Liability Company, subject to proceedings
         pending in the bankruptcy court where a petition for relief was filed.

         Name of Debtor:              Jinzheng Group (USA) LLC
         Date of Filing:              08/24/2021
         U.S. District Court:         Central District of California
         Case No:                     21-16674

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE: 2929 Amethyst St.                                          ORDER NO.: 00353875-990-TEO-MJ1


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, COUNTY OF
LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

BEING A PORTION OF THE CITY LANDS OF LOS ANGELES, IN THE CITY OF LOS ANGELES, COUNTY OF
LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 2 PAGES 504 AND 505 OF
MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY,
DESCRIBED AS FOLLOWS:

BEGINNING AT THE SOUTHWEST CORNER OF ROSE HILL COURT, AS PER MAP RECORDED IN BOOK 8
PAGE 2 OF MAPS; THENCE SOUTH 20° 07' WEST ALONG THE EAST LINE OF ELA HILLS TRACT, AS PER
MAP RECORDED IN BOOK 14 PAGE 3 OF MISCELLANEOUS RECORDS; 32 CHAINS, MORE OR LESS, TO
AN ANGLE POINT IN SAID EAST LINE; SAID ANGLE POINT BEING THE SOUTHWEST CORNER OF THE
LAND CONVEYED TO L. T. GARNSEY, BY DEED RECORDED IN BOOK 428 PAGE 178 OF DEEDS; THENCE
SOUTH 89° 45' EAST ALONG THE SOUTH LINE OF THE LAND DESCRIBED IN THE ABOVE MENTIONED
DEED TO WILLIAM HOLGATES GLEN TERRACE TRACT, AS PER MAP RECORDED IN BOOK 17 PAGE 91
OF SAID MISCELLANEOUS RECORDS; THENCE NORTH AND EAST ALONG THE LINE OF SAID WILLIAM
HOLGATES GLEN TERRACE TRACT, AND THE NORTH LINE OF THE LAND CONVEYED TO MRS. ELIZA
KIMBALL, BY DEED RECORDED IN BOOK 131 PAGE 233 OF DEEDS, TO THE WEST LINE OF TRACT 7972,
AS PER MAP RECORDED IN BOOK 101 PAGES 3 TO 7 INCLUSIVE OF MAPS; THENCE NORTHWEST AND
NORTHEAST ALONG THE WESTERLY LINE OF SAID TRACT 7972, TO THE SOUTHEAST CORNER OF
ROSE HILL COURT ABOVE MENTIONED; THENCE NORTHWEST ALONG THE SOUTH LINE OF SAID ROSE
HILL COURT TO THE POINT OF BEGINNING.

EXCEPT ALL OIL, GAS, WATER AND MINERAL RIGHTS WITHOUT HOWEVER THE RIGHT TO USE THE
SURFACE OF SAID LAND FOR THE EXTRACTION OF SAID OIL, GAS WATER AND MINERALS AS
RESERVED BY THE CITY OF LOS ANGELES, IN DEED RECORDED SEPTEMBER 26, 1969 AS
INSTRUMENT NO. 1969-2822.


APN: 5209-009-001




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YOUR REFERENCE: 2929 Amethyst St.                                                     ORDER NO.: 00353875-990-TEO-MJ1


                                                     EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION TO
THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes
         to be levied for the fiscal year 2022-2023.

2.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the
         provisions of Chapter 3.5 (commencing with Section 75) or Part 2, Chapter 3, Articles 3 and 4,
         respectively, of the Revenue and Taxation Code of the State of California as a result of the transfer of title
         to the vestee named in Schedule A or as a result of changes in ownership or new construction occurring
         prior to Date of Policy.

         Note: If said supplementals (if any) are not posted prior to the date of closing, this company assumes no
         liability for payment thereof.

3.       Water rights, claims or title to water, whether or not disclosed by the public records.

4.       The fact that the Department of Water and Power of the City of Los Angeles holds a right of way along
         the easterly line of said land south of Paradise Drive as disclosed by Department of Water and Power
         Record Number 5881. The width of said right of way cannot be determined by examination of said record.

5.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       September 4, 2018
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Bobs LLC
         Beneficiary:                 Bobs LLC, a Nevada Single Purpose Limited Liability Company as to an
                                      undivided 100.000% interest
         Loan No.:                    ODL-090518
         Recording Date:              September 10, 2018
         Recording No:                2018-916691, of Official Records

         Assignment of the beneficial interest under said deed of trust which names:

         Assignee:                    Royalty Equity Lending LLC, a California Limited Liability Company
         Recording Date:              January 30, 2019
         Recording No.:               2019-91547, of Official Records

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 4, 2020
         Recording No.:               2020-883345, of Official Records

         A Notice of Default under the terms of said trust deed

         Executed By:                 Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 4, 2020
         Recording No.:               2020-883346, of Official Records




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                                                      EXCEPTIONS
                                                       (Continued)



         A notice of Trustee's Sale under said deed of trust

         Executed By:            Best Alliance Foreclosure and Lien Services Corp.
         Time and Place of Sale: At the front steps of building located at 17305 Gilmore Street, Lake Balboa, CA
                                 91406, August 24, 2021 at 10:30 AM
         Recording Date:         August 4, 2021
         Recording No.:          2021-1193192, of Official Records

6.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $400,000.00
         Dated:                       December 9, 2019
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     North American Title Company, Inc., a California Corporation
         Beneficiary:                 Helen P. Ho, Trustee of the Helen P. Ho Revocable Trust as to an undivided
                                      75% interest and Stephen Yen, as to an undivided 25% interest
         Loan No.:                    001761650
         Recording Date:              December 16, 2019
         Recording No:                2019-1398228, of Official Records

         This Company will require a Trust Certification pursuant to California Probate Code Section 18100.5 from
         the Trustee of the Trust shown above as beneficiary of said deed of trust if an act of said Trustee is to be
         insured or if said deed of trust is to be reconveyed.

         The Company reserves the right to add additional items and/or make further requirements after review of
         the requested documentation.

         This Company will require that the original note, the original deed of trust and a properly executed request
         for full reconveyance together with appropriate documentation (i.e., copy of trust, partnership agreement
         or corporate resolution) be in this office prior to the close of this transaction if the above-mentioned item is
         to be paid through this transaction or deleted from a policy of title insurance.

         Any demands submitted to us for payoff must be signed by all beneficiaries as shown on said deed of
         trust, and/or any assignments thereto. In the event said demand is submitted by an agent of the
         beneficiary(s), we will require the written approval of the demand by the beneficiary(s). Servicing
         agreements do not constitute approval for the purposes of this requirement.

         If no amounts remain due under the obligation a zero balance demand will be required along with the
         reconveyance documents.

         In addition, we require the written approval of said demand by the trustor(s) on said deed of trust or the
         current owners if applicable.




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                                                       EXCEPTIONS
                                                        (Continued)



7.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580412, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Affects: The herein described Land and other land.

8.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580413, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

           If the above credit line is being paid off, this Company will require that Escrow obtain written
         confirmation from the current Beneficiary that the account has been frozen prior to recording. Failure to
         do so will result in this Company holding funds at the close of Escrow until such confirmation is obtained
         from the Beneficiary.



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                                                       EXCEPTIONS
                                                        (Continued)

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

9.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580414, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

10.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580415, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211936, of Official Records

         A Notice of Default under the terms of said trust deed

         Executed By:                 Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211937, of Official Records

      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION


1.       In order to complete this report, the Company requires a Statement of Information to be completed by the
         following party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the
         requested Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under
         this order. Any title search includes matters that are indexed by name only, and having a completed
         Statement of Information assists the Company in the elimination of certain matters which appear to
         involve the parties but in fact affect another party with the same or similar name. Be assured that the
         Statement of Information is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance
         predicated upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company: Jinzheng Group (USA) LLC

         a)      A copy of its operating agreement, if any, and any and all amendments, supplements and/or
         modifications thereto, certified by the appropriate manager or member

         b)    If a domestic Limited Liability Company, a copy of its Articles of Organization and all
         amendments thereto with the appropriate filing stamps

         c)       If the Limited Liability Company is member-managed, a full and complete current list of members
         certified by the appropriate manager or member

         d)      A current dated certificate of good standing from the proper governmental authority of the state in
         which the entity was created

         e)       If less than all members, or managers, as appropriate, will be executing the closing documents,
         furnish evidence of the authority of those signing.

         The Company reserves the right to add additional items or make further requirements after review of the
         requested documentation

                                                     END OF REQUIREMENTS




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                                        INFORMATIONAL NOTES SECTION

1.       Notice: Please be aware that due to the conflict between federal and state laws concerning the
         cultivation, distribution, manufacture or sale of marijuana, the Company is not able to close or insure any
         transaction involving Land that is associated with these activities.

2.       None of the items shown in this report will cause the Company to decline to attach ALTA Endorsement
         Form 9 to an Extended Coverage Loan Policy, when issued.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may
         demand arbitration provision. Arbitrable matters may include, but are not limited to any controversy or
         claim between the Company and the insured arising out of or relating to this policy, any service of the
         Company in connection with its issuance or the breach of a policy provision or other obligation. Please
         ask your escrow or title officer for a sample copy of the policy to be issued if you wish to review the
         arbitration provisions and any other provisions pertaining to your Title Insurance Coverage.

4.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

5.       Note: Property taxes for the fiscal year shown below are PAID. For proration purposes the amounts were:

         Tax Identification No.:      5209-009-001
         Fiscal Year:                 2021-2022
         1st Installment:             $126,570.91
         2nd installment:             $126,570.90
         Exemption:                   $0.00
         Land:                        $19,835,739.00
         Improvements:                $0.00
         Code Area:                   00004
         Personal Property:           $0.00

6.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a
         Documentary Transfer Tax (DTT) Affidavit may be required to be completed and submitted with each
         document when DTT is being paid or when an exemption is being claimed from paying the tax. If a
         governmental agency is a party to the document, the form will not be required. DTT Affidavits may be
         available at a Tax Assessor-County Clerk-Recorder.

7.       Due to the special requirements of SB 50 (California Public Resources Code Section 8560 et seq.), any
         transaction that includes the conveyance of title by an agency of the United States must be approved in
         advance by the Company's State Counsel, Regional Counsel, or one of their designees.

8.       Unless this company is in receipt of WRITTEN instructions authorizing a particular policy, Fidelity Title will
         AUTOMATICALLY issue the American Land Title Association Homeowner's Policy (02/03/10) for all
         qualifying residential 1-4 properties/transactions to insure the buyer at the close of escrow.

9.       If a county recorder, title insurance company, escrow company, real estate broker, real estate agent or
         association provides a copy of a declaration, governing document or deed to any person, California law
         requires that the document provided shall include a statement regarding any unlawful restrictions. Said
         statement is to be in at least 14-point bold face type and may be stamped on the first page of any
         document provided or included as a cover page attached to the requested document. Should a party to
         this transaction request a copy of any document reported herein that fits this category, the statement is to
         be included in the manner described.

10.      Any documents being executed in conjunction with this transaction must be signed in the presence of an
         authorized Company employee, an authorized employee of an agent, an authorized employee of the
         insured lender, or by using Bancserv or other approved third party service. If the above requirements
         cannot be met, please call the Company at the number provided in this report



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                                               INFORMATIONAL NOTES
                                                      (Continued)

11.      NOTE: Amended Civil Code Section 2941, which becomes effective on January 1, 2002, sets the fee for
         the processing and recordation of the reconveyance of each Deed of Trust being paid off through this
         transaction at $45.00. The reconveyance fee must be clearly set forth in the Beneficiary's Payoff Demand
         Statement ("Demand"). In addition, an assignment or authorized release of that fee, from the Beneficiary
         to the Trustee of record, must be included. An example of the required language is as follows:

         The Beneficiary identified above hereby assigns, releases or transfers to the Trustee of record, the sum
         of $45.00, included herein as 'Reconveyance Fees', for the processing and recordation of the
         Reconveyance of the Deed of Trust securing the indebtedness covered hereby, and the escrow company
         or title company processing this pay-off is authorized to deduct the Reconveyance Fee from this Demand
         and forward said fee to the Trustee of record or the successor Trustee under the Trust Deed to be paid
         off in full.

         In the event that the reconveyance fee and the assignment, release or transfer are not included within the
         demand statement, then Fidelity National Title Insurance Company and its Underwritten Agent may
         decline to process the reconveyance and will be forced to return all documentation directly to the
         Beneficiary for compliance with the requirements of the revised statute.

12.      Note: Part of the RESPA Rule to simplify and Improve the Process of Obtaining Mortgages and Reduce
         Consumer Settlement Costs requires the settlement agent to disclose the agent and underwriter split of
         title premiums, including endorsements as follows:

         Line 1107 is used to record the amount of the total title insurance premium, including endorsements, that
         is retained by the title agent. Fidelity National Title Company retains 88% of the total premium and
         endorsements.

         Line 1108 used to record the amount of the total title insurance premium, including endorsements, that is
         retained by the title underwriter. Fidelity National Title Insurance Company retains 12% of the total
         premium and endorsements.




                                             END OF INFORMATIONAL NOTES

Joseph Mansueto/1hr




                                                          25
CLTA Preliminary Report Form – Modified (11/17/06)                                                           Page 2
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                                                     Exhibit 1 Page 13 of 108




                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                             26                                             WIRE0016 (DSI Rev. 12/07/17)
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective August 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

FNF Privacy Statement (Eff. August 1, 2021)
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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 714-2710 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.




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MISC0219 (DSI Rev. 07/29/21)                                      Page 2                                     Order No. 00353875-990-TEO-MJ1
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Your Consent To This Privacy Notice; Notice Changes
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 714-2710 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                         601 Riverside Avenue,
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




FNF Privacy Statement (Eff. August 1, 2021)
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          Fidelity National Title Company
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                              Last Saved: June 13, 2022 by JM7
MISC0164 (DSI Rev. 03/12/20)                                    30                       Escrow No.: 00353875-990-TEO-MJ1
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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 2
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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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          Fidelity National Title Company
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          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822

                                                   STATEMENT OF INFORMATION
                                         CONFIDENTIAL INFORMATION FOR YOUR PROTECTION
 Escrow No.:        00353875-990-TEO-MJ1                                                                           Title No.:
Completion of this statement expedites your application for title insurance, as it assists in establishing identity, eliminating matters affecting persons with
similar names and avoiding the use of fraudulent or forged documents. Complete all blanks (please print) or indicate “none” or “N/A”. If more space is
needed for any item(s), use the reverse side of the form. Each party (and spouse/domestic partner, if applicable) to the transaction should personally
sign this form.
                                                         NAME AND PERSONAL INFORMATION
                                                                                                                           Date of Birth:
 First Name                      Middle/Maiden Name (if none, indicate)            Last Name
 Home Phone:                                         Business Phone:                                                     Birthplace:
 Cell Phone:                                         Fax:                                                               Email:
 Social Security No.:                                                                    Driver’s License No.:
 List any other name you have used or been known by:
 State of residence:                                                                     I have lived continuously in the U.S.A. since
 Are you currently married?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Date and place of marriage:
      Spouse:                                                                                                              Date of Birth:
                    First Name            Middle/Maiden Name (if none, indicate)        Last Name
      Home Phone:                                               Business Phone:                                            Birthplace:
      Cell Phone:                                               Fax:                                                       Email:
      Social Security No.:                                                                      Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                               I have lived continuously in the U.S.A. since

 Are you currently a registered domestic partner?                         IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Domestic Partner:                                                                                                    Date of Birth:
                                 First Name        Middle/Maiden Name (if none, indicate)       Last Name
      Home Phone:                                               Business Phone:                                            Birthplace:
      Cell Phone:                                               Fax:                                                       Email:
      Social Security No.:                                                                      Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                                I have lived continuously in the U.S.A. since


                                                                            CHILDREN
 Child Name:                                      Date of Birth:                    Child Name:                                        Date of Birth:
 Child Name:                                      Date of Birth:                    Child Name:                                        Date of Birth:

                                                         (if more space is required, use reverse side of form)

                                                               RESIDENCES (LAST 10 YEARS)

 Number & Street                                  City                                                              From (date) to (date)


 Number & Street                                  City                                                              From (date) to (date)
                                                         (if more space is required, use reverse side of form)

                                                   OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

 Firm or Business Name                            Address                                                           From (date) to (date)


 Firm or Business Name                            Address                                                           From (date) to (date)
                                                         (if more space is required, use reverse side of form)



Statement of Information                                                           37                                       Last Saved: 6/13/2022 1:25 PM by JM7
MISC0008 (DSI Rev. 03/26/20)                                                   Page 1                                           Order No.: 00353875-990-TEO-MJ1
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                           SPOUSE’S/DOMESTIC PARTNER’S OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

Firm or Business Name                              Address                                                       From (date) to (date)


Firm or Business Name                              Address                                                       From (date) to (date)
                                                     (if more space is required, use reverse side of form)

                                                                  PRIOR MARRIAGE(S)
Any prior marriages for either spouse?                            IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior spouse’s (Party A) name:                                                        Prior Spouse of Party A:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
     Prior spouse’s (Party B) name:                                                        Prior Spouse of Party B:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
                                                     (if more space is required, use reverse side of form)

                                                        PRIOR DOMESTIC PARTNERSHIP(S)
Any prior domestic partnerships for either person?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior partner’s name:                                                                 Prior Partner:
             Partnership ended by:  Death  Dissolution             Nullification      Termination Date of Death/Dissolution/etc.:
             Prior partner’s name:                                                              Prior Partner:
             Partnership ended by:  Death  Dissolution  Nullification  Termination Date of Death/Dissolution/etc.:
                                             (if more space is required, use reverse side of form)

                                                       INFORMATION ABOUT THE PROPERTY
Buyer intends to reside on the property in this transaction:            Yes              No

                                                  OWNER TO COMPLETE THE FOLLOWING ITEMS
Street Address of Property in this transaction:
The land is     unimproved; or improved with a structure of the following type:  A Single or 1-4 Family          Condo Unit            Other
Improvements, remodeling or repairs to this property have been made within the past six (6) months:             Yes       No
If yes, have all costs for labor and materials arising in connection therewith been paid in full?               Yes       No
Any current loans on property?                     IF YES, COMPLETE THE FOLLOWING INFORMATION:
Lender:                                              Loan Amount:                                       Loan Account No.:
Lender:                                              Loan Amount:                                       Loan Account No.:
The undersigned declare, under penalty of perjury, that the foregoing is true and correct.
IN WITNESS WHEREOF, the undersigned have executed this document on the date(s) set forth below.


Signature                                                                        Date



Print Name



Signature                                                                        Date



Print Name

                                     (NOTE: IF APPLICABLE, BOTH SPOUSES/DOMESTIC PARTNERS MUST SIGN.)
                                                                        THANK YOU.




Statement of Information                                                       38                                     Last Saved: 6/13/2022 1:25 PM by JM7
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           Fidelity National Title Company
           3878 W Carson Street, Suite 225, Torrance, CA 90503
           Phone: (310) 620-5521 ● Fax: (310) 316-7822




                       CREDIT LINE / EQUITY LINE OF CREDIT CLOSURE REQUEST
Date: ___________________________

To:      ___________________________

         ___________________________

         ___________________________

         ___________________________

Attention: Payoff Dept.
Reference: Account/Loan # ___________________________________________________________________
Property Address:       Vacant Land, , CA 90032


To Whom It May Concern:

Please accept this letter as a request to close/freeze the above-referenced credit line or equity line of credit as of
this date.

I/We agree not to request any advances on this account on or after the date of this letter.

You will be receiving payment in full from the proceeds of our escrow transaction. Upon receipt of payoff, please
send your Reconveyance or Release of Lien to:

Fidelity National Title Company
3878 W Carson Street, Suite 225
Torrance, CA 90503
Attn: Joseph Mansueto
Ref: 00353875-990-MJ1

Sincerely,

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

(All borrowers must sign)




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                                      Exhibit 1 Page 27 of 108             Fidelity National Title - LA
                                                       3878 W Carson Street, Suite 225, Torrance, CA
                                                                                                 90503

                                     Preliminary Report

Fidelity National Title - LA                                                 Title Officer: Joseph Mansueto
3878 W Carson Street, Suite 225, Torrance, CA                                     Email: JoesTeam@fnf.com
90503                                                                            Phone No.: (310) 620-5522
Phone: (310) 620-5522                                                    File No.: 00353878-990-TEO-MJ1

Your Reference No: 2520-2522LincolnPark
Property Address: 2520-2522 Lincoln Park Avenue, Los Angeles, CA 90031




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
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          Access title reports, exception documents, an easy-to-use summary page, and more,
          at your fingertips and your convenience.

              To view your new Fidelity National Title First Alert powered by
                              LiveLOOK report, Click Here




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         Fidelity National Title Company
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         Phone: (310) 620-5521




                               Issuing Policies of Fidelity National Title Insurance Company

                                                                              ORDER NO.: 00353878-990-TEO-MJ1
                                                                                                    LOAN NO.:
Title Officer: Joseph Mansueto
Phone: (310) 620-5522
Fax: (310) 316-7822
Email: JoesTeam@fnf.com

Glen Oaks Escrow
13949 Ventura Blvd, #320
Sherman Oaks, CA 91423

ATTN:              Marcine Kline
YOUR REF:          2520-2522LincolnPark

PROPERTY:          2520-2522 Lincoln Park Avenue, Los Angeles, CA 90031


                                                 PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company
hereby reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title
insurance describing the land and the estate or interest therein hereinafter set forth, insuring against loss which
may be sustained by reason of any defect, lien or encumbrance not shown or referred to as an exception herein
or not excluded from coverage pursuant to the printed Schedules, Conditions and Stipulations or Conditions of
said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or
policies are set forth in Attachment One. The policy to be issued may contain an arbitration clause. When the
Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at
the option of either the Company or the Insured as the exclusive remedy of the parties. Limitations on Covered
Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title Insurance which establish a Deductible
Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in Attachment One.
Copies of the policy forms should be read. They are available from the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed
prior to the issuance of a policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance
Company, a Florida corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in
Attachment One of this report carefully. The exceptions and exclusions are meant to provide you with
notice of matters which are not covered under the terms of the title insurance policy and should be
carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects and encumbrances affecting title to the land.
Countersigned by:


Authorized Signature




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         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                                                 PRELIMINARY REPORT


EFFECTIVE DATE:                       May 25, 2022 at 7:30 a.m.

ORDER NO.: 00353878-990-TEO-MJ1

The form of policy or policies of title insurance contemplated by this report is:

         ALTA Homeowner's Policy of Title Insurance (7-1-21)
         ALTA Extended Loan Policy (7-1-21)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO
         COVERED BY THIS REPORT IS:

         A FEE

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Jinzheng Group USA LLC, a California Limited Liability Company

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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PRELIMINARY REPORT                                                              Fidelity National Title Company
YOUR REFERENCE: 2520-2522LincolnPark                                       ORDER NO.: 00353878-990-TEO-MJ1


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, COUNTY OF
LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

LOT 2 IN BLOCK "B" OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 14, PAGES 3 OF MISCELLANEOUS RECORDS
IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.


APN: 5208-025-002




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PRELIMINARY REPORT                                                                          Fidelity National Title Company
YOUR REFERENCE: 2520-2522LincolnPark                                                   ORDER NO.: 00353878-990-TEO-MJ1


                                                     EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION TO
THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes
         to be levied for the fiscal year 2022-2023.

2.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the
         provisions of Chapter 3.5 (commencing with Section 75) or Part 2, Chapter 3, Articles 3 and 4,
         respectively, of the Revenue and Taxation Code of the State of California as a result of the transfer of title
         to the vestee named in Schedule A or as a result of changes in ownership or new construction occurring
         prior to Date of Policy.

         Note: If said supplementals (if any) are not posted prior to the date of closing, this company assumes no
         liability for payment thereof.

3.       Water rights, claims or title to water, whether or not disclosed by the public records.

4.       Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed
         by the Public Records.

5.       Matters contained in that certain document

         Entitled:                    Memorandum Summarizing Non-Confidential Provisions of a Notice of Intent to
                                      Withdraw Units from Rental Housing Use
         Dated:                       October 25, 2018
         Executed by:                 Jinzheng Group (USA), LLC
         Recording Date:              November 13, 2018
         Recording No.:               2018-1143615, of Official Records

         Reference is hereby made to said document for full particulars

6.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA), LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580412, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.



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PRELIMINARY REPORT                                                                          Fidelity National Title Company
YOUR REFERENCE: 2520-2522LincolnPark                                                   ORDER NO.: 00353878-990-TEO-MJ1


                                                       EXCEPTIONS
                                                        (Continued)

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Affects: The herein described Land and other land.

7.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580413, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

8.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA), LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580414, of Official Records




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YOUR REFERENCE: 2520-2522LincolnPark                                                   ORDER NO.: 00353878-990-TEO-MJ1


                                                       EXCEPTIONS
                                                        (Continued)

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

9.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA), LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580415, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.




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                                                        EXCEPTIONS
                                                         (Continued)



         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211936, of Official Records

         A Notice of Default under the terms of said trust deed

         Executed By:                 Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August , 2021
         Recording No.:               2021-1211937, of Official Records

      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION


1.       In order to complete this report, the Company requires a Statement of Information to be completed by the
         following party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the
         requested Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under
         this order. Any title search includes matters that are indexed by name only, and having a completed
         Statement of Information assists the Company in the elimination of certain matters which appear to
         involve the parties but in fact affect another party with the same or similar name. Be assured that the
         Statement of Information is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance
         predicated upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company: Jinzheng Group (USA), LLC

         a)      A copy of its operating agreement, if any, and any and all amendments, supplements and/or
         modifications thereto, certified by the appropriate manager or member

         b)    If a domestic Limited Liability Company, a copy of its Articles of Organization and all
         amendments thereto with the appropriate filing stamps

         c)       If the Limited Liability Company is member-managed, a full and complete current list of members
         certified by the appropriate manager or member

         d)      A current dated certificate of good standing from the proper governmental authority of the state in
         which the entity was created

         e)       If less than all members, or managers, as appropriate, will be executing the closing documents,
         furnish evidence of the authority of those signing.

         The Company reserves the right to add additional items or make further requirements after review of the
         requested documentation

                                                     END OF REQUIREMENTS




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                                        INFORMATIONAL NOTES SECTION

1.       Notice: Please be aware that due to the conflict between federal and state laws concerning the
         cultivation, distribution, manufacture or sale of marijuana, the Company is not able to close or insure any
         transaction involving Land that is associated with these activities.

2.       None of the items shown in this report will cause the Company to decline to attach ALTA Endorsement
         Form 9 to an Extended Coverage Loan Policy, when issued.

3.       Note: The Company is not aware of any matters which would cause it to decline to attach CLTA
         Endorsement Form 116 indicating that there is located on said Land a Multiple Family Dwelling, known as
         2520-2522 Lincoln Park Avenue, Los Angeles, California to an Extended Coverage Loan Policy.

4.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may
         demand arbitration provision. Arbitrable matters may include, but are not limited to any controversy or
         claim between the Company and the insured arising out of or relating to this policy, any service of the
         Company in connection with its issuance or the breach of a policy provision or other obligation. Please
         ask your escrow or title officer for a sample copy of the policy to be issued if you wish to review the
         arbitration provisions and any other provisions pertaining to your Title Insurance Coverage.

5.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

6.       Note: Property taxes for the fiscal year shown below are PAID. For proration purposes the amounts were:

         Tax Identification No.:      5208-025-002
         Fiscal Year:                 2021-2022
         1st Installment:             $7,219.81
         2nd installment:             $7,219.79
         Exemption:                   $0.00
         Land:                        $618,340.00
         Improvements:                $255,580.00
         Code Area:                   00004
         Personal Property:           $0.00

7.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a
         Documentary Transfer Tax (DTT) Affidavit may be required to be completed and submitted with each
         document when DTT is being paid or when an exemption is being claimed from paying the tax. If a
         governmental agency is a party to the document, the form will not be required. DTT Affidavits may be
         available at a Tax Assessor-County Clerk-Recorder.

8.       The Company and its policy issuing agents are required by Federal law to collect additional information
         about certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this
         transaction is required to be reported under a Geographic Targeting Order issued by FinCEN, the
         Company or its policy issuing agent must be supplied with a completed ALTA Information Collection Form
         ("ICF") prior to closing the transaction contemplated herein.

9.       Due to the special requirements of SB 50 (California Public Resources Code Section 8560 et seq.), any
         transaction that includes the conveyance of title by an agency of the United States must be approved in
         advance by the Company's State Counsel, Regional Counsel, or one of their designees.

10.      Unless this company is in receipt of WRITTEN instructions authorizing a particular policy, Fidelity Title will
         AUTOMATICALLY issue the American Land Title Association Homeowner's Policy (02/03/10) for all
         qualifying residential 1-4 properties/transactions to insure the buyer at the close of escrow.




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                                               INFORMATIONAL NOTES
                                                      (Continued)

11.      If a county recorder, title insurance company, escrow company, real estate broker, real estate agent or
         association provides a copy of a declaration, governing document or deed to any person, California law
         requires that the document provided shall include a statement regarding any unlawful restrictions. Said
         statement is to be in at least 14-point bold face type and may be stamped on the first page of any
         document provided or included as a cover page attached to the requested document. Should a party to
         this transaction request a copy of any document reported herein that fits this category, the statement is to
         be included in the manner described.

12.      Any documents being executed in conjunction with this transaction must be signed in the presence of an
         authorized Company employee, an authorized employee of an agent, an authorized employee of the
         insured lender, or by using Bancserv or other approved third party service. If the above requirements
         cannot be met, please call the Company at the number provided in this report

13.      NOTE: Amended Civil Code Section 2941, which becomes effective on January 1, 2002, sets the fee for
         the processing and recordation of the reconveyance of each Deed of Trust being paid off through this
         transaction at $45.00. The reconveyance fee must be clearly set forth in the Beneficiary's Payoff Demand
         Statement ("Demand"). In addition, an assignment or authorized release of that fee, from the Beneficiary
         to the Trustee of record, must be included. An example of the required language is as follows:

         The Beneficiary identified above hereby assigns, releases or transfers to the Trustee of record, the sum
         of $45.00, included herein as 'Reconveyance Fees', for the processing and recordation of the
         Reconveyance of the Deed of Trust securing the indebtedness covered hereby, and the escrow company
         or title company processing this pay-off is authorized to deduct the Reconveyance Fee from this Demand
         and forward said fee to the Trustee of record or the successor Trustee under the Trust Deed to be paid
         off in full.

         In the event that the reconveyance fee and the assignment, release or transfer are not included within the
         demand statement, then Fidelity National Title Insurance Company and its Underwritten Agent may
         decline to process the reconveyance and will be forced to return all documentation directly to the
         Beneficiary for compliance with the requirements of the revised statute.

14.      Note: Part of the RESPA Rule to simplify and Improve the Process of Obtaining Mortgages and Reduce
         Consumer Settlement Costs requires the settlement agent to disclose the agent and underwriter split of
         title premiums, including endorsements as follows:

         Line 1107 is used to record the amount of the total title insurance premium, including endorsements, that
         is retained by the title agent. Fidelity National Title Company retains 88% of the total premium and
         endorsements.

         Line 1108 used to record the amount of the total title insurance premium, including endorsements, that is
         retained by the title underwriter. Fidelity National Title Insurance Company retains 12% of the total
         premium and endorsements.




                                             END OF INFORMATIONAL NOTES

Joseph Mansueto/1hr




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                             51                                             WIRE0016 (DSI Rev. 12/07/17)
                                     TM and © Fidelity National Financial, Inc. and/or an affiliate. All rights reserved
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective August 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

FNF Privacy Statement (Eff. August 1, 2021)
                                                                  52      Copyright © 2021. Fidelity National Financial, Inc. All Rights Reserved
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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 714-2710 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.




FNF Privacy Statement (Eff. August 1, 2021)
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Your Consent To This Privacy Notice; Notice Changes
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 714-2710 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                         601 Riverside Avenue,
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




FNF Privacy Statement (Eff. August 1, 2021)
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          Fidelity National Title Company
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                              Last Saved: June 10, 2022 by 1HR
MISC0164 (DSI Rev. 03/12/20)                                    55                       Escrow No.: 00353878-990-TEO-MJ1
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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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          Fidelity National Title Company
                                     Exhibit 1 Page 48 of 108
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822

                                                   STATEMENT OF INFORMATION
                                         CONFIDENTIAL INFORMATION FOR YOUR PROTECTION
 Escrow No.:        00353878-990-TEO-MJ1                                                                           Title No.:
Completion of this statement expedites your application for title insurance, as it assists in establishing identity, eliminating matters affecting persons with
similar names and avoiding the use of fraudulent or forged documents. Complete all blanks (please print) or indicate “none” or “N/A”. If more space is
needed for any item(s), use the reverse side of the form. Each party (and spouse/domestic partner, if applicable) to the transaction should personally
sign this form.
                                                         NAME AND PERSONAL INFORMATION
                                                                                                                           Date of Birth:
 First Name                      Middle/Maiden Name (if none, indicate)            Last Name
 Home Phone:                                         Business Phone:                                                     Birthplace:
 Cell Phone:                                         Fax:                                                               Email:
 Social Security No.:                                                                    Driver’s License No.:
 List any other name you have used or been known by:
 State of residence:                                                                     I have lived continuously in the U.S.A. since
 Are you currently married?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Date and place of marriage:
      Spouse:                                                                                                              Date of Birth:
                    First Name            Middle/Maiden Name (if none, indicate)        Last Name
      Home Phone:                                               Business Phone:                                            Birthplace:
      Cell Phone:                                               Fax:                                                       Email:
      Social Security No.:                                                                      Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                               I have lived continuously in the U.S.A. since

 Are you currently a registered domestic partner?                         IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Domestic Partner:                                                                                                    Date of Birth:
                                 First Name        Middle/Maiden Name (if none, indicate)       Last Name
      Home Phone:                                               Business Phone:                                            Birthplace:
      Cell Phone:                                               Fax:                                                       Email:
      Social Security No.:                                                                      Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                                I have lived continuously in the U.S.A. since


                                                                            CHILDREN
 Child Name:                                      Date of Birth:                    Child Name:                                        Date of Birth:
 Child Name:                                      Date of Birth:                    Child Name:                                        Date of Birth:

                                                         (if more space is required, use reverse side of form)

                                                               RESIDENCES (LAST 10 YEARS)

 Number & Street                                  City                                                              From (date) to (date)


 Number & Street                                  City                                                              From (date) to (date)
                                                         (if more space is required, use reverse side of form)

                                                   OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

 Firm or Business Name                            Address                                                           From (date) to (date)


 Firm or Business Name                            Address                                                           From (date) to (date)
                                                         (if more space is required, use reverse side of form)



Statement of Information                                                           61                                       Last Saved: 6/10/2022 5:49 AM by 1HR
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                           SPOUSE’S/DOMESTIC PARTNER’S OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

Firm or Business Name                              Address                                                       From (date) to (date)


Firm or Business Name                              Address                                                       From (date) to (date)
                                                     (if more space is required, use reverse side of form)

                                                                  PRIOR MARRIAGE(S)
Any prior marriages for either spouse?                            IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior spouse’s (Party A) name:                                                        Prior Spouse of Party A:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
     Prior spouse’s (Party B) name:                                                        Prior Spouse of Party B:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
                                                     (if more space is required, use reverse side of form)

                                                        PRIOR DOMESTIC PARTNERSHIP(S)
Any prior domestic partnerships for either person?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior partner’s name:                                                                 Prior Partner:
             Partnership ended by:  Death  Dissolution             Nullification      Termination Date of Death/Dissolution/etc.:
             Prior partner’s name:                                                              Prior Partner:
             Partnership ended by:  Death  Dissolution  Nullification  Termination Date of Death/Dissolution/etc.:
                                             (if more space is required, use reverse side of form)

                                                       INFORMATION ABOUT THE PROPERTY
Buyer intends to reside on the property in this transaction:            Yes              No

                                                  OWNER TO COMPLETE THE FOLLOWING ITEMS
Street Address of Property in this transaction:
The land is     unimproved; or improved with a structure of the following type:  A Single or 1-4 Family          Condo Unit            Other
Improvements, remodeling or repairs to this property have been made within the past six (6) months:             Yes       No
If yes, have all costs for labor and materials arising in connection therewith been paid in full?               Yes       No
Any current loans on property?                     IF YES, COMPLETE THE FOLLOWING INFORMATION:
Lender:                                              Loan Amount:                                       Loan Account No.:
Lender:                                              Loan Amount:                                       Loan Account No.:
The undersigned declare, under penalty of perjury, that the foregoing is true and correct.
IN WITNESS WHEREOF, the undersigned have executed this document on the date(s) set forth below.


Signature                                                                        Date



Print Name



Signature                                                                        Date



Print Name

                                     (NOTE: IF APPLICABLE, BOTH SPOUSES/DOMESTIC PARTNERS MUST SIGN.)
                                                                        THANK YOU.




Statement of Information                                                       62                                     Last Saved: 6/10/2022 5:49 AM by 1HR
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           Fidelity National Title Company
           3878 W Carson Street, Suite 225, Torrance, CA 90503
           Phone: (310) 620-5521 ● Fax: (310) 316-7822




                       CREDIT LINE / EQUITY LINE OF CREDIT CLOSURE REQUEST
Date: ___________________________

To:      ___________________________

         ___________________________

         ___________________________

         ___________________________

Attention: Payoff Dept.
Reference: Account/Loan # ___________________________________________________________________
Property Address:       2520-2522 Lincoln Park Avenue, Los Angeles, CA 90031


To Whom It May Concern:

Please accept this letter as a request to close/freeze the above-referenced credit line or equity line of credit as of
this date.

I/We agree not to request any advances on this account on or after the date of this letter.

You will be receiving payment in full from the proceeds of our escrow transaction. Upon receipt of payoff, please
send your Reconveyance or Release of Lien to:

Fidelity National Title Company
3878 W Carson Street, Suite 225
Torrance, CA 90503
Attn: Joseph Mansueto
Ref: 00353878-990-MJ1

Sincerely,

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

(All borrowers must sign)




REQ00001 (Rev. 12/5/2012)                                        63
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Under 31 U.S.C. § 5326(a), the Treasury Department’s Financial Crimes Enforcement Network (FinCEN) issued a
Geographic Targeting Order to title insurance companies requiring the collection of beneficial ownership
information for certain real estate transactions.
Please complete the below questionnaire. This Company will rely on the answers provided to meet its reporting
obligations.
Who is completing this form?

Name                                           Position/Title                               Company/Law Firm


Postal Address (Headquarters                   City                                         State             Zip


Phone                                          Email                                        Fax



Transactional Information

Property Address (If Multiple properties see NOTE below):


City                                                                    State         Zip                County


Date of Settlement                   Total purchase price (if multiple properties see NOTE below)


Type of Transaction:       Residential (1-4 family)             Commercial            Bank Financing:         Yes  No

Purchase type:      Natural Person            Corporation          LLC              Partnership           Other


NOTE: If more than one property is purchased, list each address and purchase price as an addendum.
Purchase Funds Information

Total Amount paid by below instruments: $

Which type of Monetary Instruments were used (Use check boxes below)

 U.S. Currency (Paper money & coin)

 Foreign Currency                                                   Country:

 Cashier’s check(s)                                                  Money order(s)

 Certified check(s)                                                  Personal or Business check(s)

 Wire or other funds transfer(s)                                     Virtual Currency




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Individual Primarily Representing Purchaser
(Define as the individual authorized by the entity to enter into legally binding contracts).

Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)
Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip


Purchasing Entity Name & Address
Name of Purchaser


Taxpayer ID Number or EIN (If none write N/A)                             Doing Business Name (DBA) (if none write N/A)



Address                                          City                                                State       Zip




Complete the information below if the real estate purchase is being made by a corporation, LLC,
partnership, other legal entity. (Do not report trusts.)
For Corporations, LLCs, Partnerships and Other Entities provide the information for:
        Each BENEFICIAL OWNER defined as an individual who, directly or indirectly, owns 25% or more of
          the equity interests of the Purchaser.
               If a legal entity or a series of legal entities own the equity interests of the Purchaser, provide
                information for each BENEFICIAL OWNER, of each legal entity in the series of legal entities.
(Note: It is NOT necessary to complete the address fields if the information is on a legible copy of the government
issued ID submitted to the title company.)




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Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip


Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip


Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip



Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip




Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)
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Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip




I declare that to the best of my knowledge, the information I have furnished is true, correct and complete. I understand that this
Title Company will rely on this information for the purposes of completing any reports made pursuant to an obligation under 31
U.S.C. § 5326(a),


Signature:                                                         Date:

Type or Print Name:                                                Title:




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                                      Exhibit 1 Page 55 of 108             Fidelity National Title - LA
                                                       3878 W Carson Street, Suite 225, Torrance, CA
                                                                                                 90503

                                     Preliminary Report

Fidelity National Title - LA                                                 Title Officer: Joseph Mansueto
3878 W Carson Street, Suite 225, Torrance, CA                                     Email: JoesTeam@fnf.com
90503                                                                            Phone No.: (310) 620-5522
Phone: (310) 620-5522                                                    File No.: 00353876-990-TEO-MJ1

Your Reference No: 2526-2528LincolnPark
Property Address: 2526-2528 Lincoln Park Avenue, Los Angeles, CA 90031




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
          to all information related to a title insurance transaction.
          Access title reports, exception documents, an easy-to-use summary page, and more,
          at your fingertips and your convenience.

              To view your new Fidelity National Title First Alert powered by
                              LiveLOOK report, Click Here




                           Effortless, Efficient, Compliant, and Accessible




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         Fidelity National Title Company
         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                               Issuing Policies of Fidelity National Title Insurance Company

                                                                              ORDER NO.: 00353876-990-TEO-MJ1
                                                                                                    LOAN NO.:
Title Officer: Joseph Mansueto
Phone: (310) 620-5522
Fax: (310) 316-7822
Email: JoesTeam@fnf.com

Glen Oaks Escrow
13949 Ventura Blvd, #320
Sherman Oaks, CA 91423

ATTN:              Marcine Kline
YOUR REF:          2526-2528LincolnPark

PROPERTY:          2526-2528 Lincoln Park Avenue, Los Angeles, CA 90031


                                                 PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company
hereby reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title
insurance describing the land and the estate or interest therein hereinafter set forth, insuring against loss which
may be sustained by reason of any defect, lien or encumbrance not shown or referred to as an exception herein
or not excluded from coverage pursuant to the printed Schedules, Conditions and Stipulations or Conditions of
said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or
policies are set forth in Attachment One. The policy to be issued may contain an arbitration clause. When the
Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at
the option of either the Company or the Insured as the exclusive remedy of the parties. Limitations on Covered
Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title Insurance which establish a Deductible
Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in Attachment One.
Copies of the policy forms should be read. They are available from the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed
prior to the issuance of a policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance
Company, a Florida corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in
Attachment One of this report carefully. The exceptions and exclusions are meant to provide you with
notice of matters which are not covered under the terms of the title insurance policy and should be
carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects and encumbrances affecting title to the land.
Countersigned by:


Authorized Signature




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         Fidelity National Title Company
         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                                                 PRELIMINARY REPORT


EFFECTIVE DATE:                       May 25, 2022 at 7:30 a.m.

ORDER NO.: 00353876-990-TEO-MJ1

The form of policy or policies of title insurance contemplated by this report is:

         ALTA Homeowner's Policy of Title Insurance (7-1-21)
         ALTA Extended Loan Policy (7-1-21)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO
         COVERED BY THIS REPORT IS:

         A FEE

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Jinzheng Group (USA) LLC., a California Limited Liability Company

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE: 2526-2528LincolnPark                                       ORDER NO.: 00353876-990-TEO-MJ1


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, COUNTY OF
LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

LOT 1, IN BLOCK "B" OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 14, PAGES 3 AND 4 OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

EXCEPT THEREFROM THAT PORTION DESCRIBED AS FOLLOWS: BEGINNING AT THE
NORTHWESTERLY CORNER OF LOT 1, BLOCK "B" OF ELA HILLS TRACT IN THE COUNTY OF LOS
ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 14, PAGES 3 AND 4 OF
MISCELLANEOUS RECORDS, OF LOS ANGELES COUNTY, THENCE EASTERLY ALONG THE NORTHERLY
LINE OF SAID LOT 1, TO ITS INTERSECTION WITH THE PRODUCED EASTERLY LINE OF THAT PORTION
OF PRICHARD STREET, EXTENDING SOUTHERLY FROM THE RIGHT ANGLE THEREIN NORTH OF
ALTURA STREET; THENCE SOUTHERLY ALONG SAID PRODUCED EASTERLY LINE OF PRICHARD
STREET TO THE EASTERLY LINE OF PRICHARD STREET; THENCE NORTHWESTERLY ALONG THE
NORTHEASTERLY LINE OF PRICHARD STREET TO THE POINT OF BEGINNING, TO BE USED FOR PUBLIC
STREET AND NO OTHER PURPOSE AS CONVEYED TO CITY OF LOS ANGELES, A MUNICIPAL
CORPORATION BY DEED RECORDED SEPTEMBER 11, 1913, IN BOOK 5594, PAGE 123 OF DEEDS.


APN: 5208-025-001




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YOUR REFERENCE: 2526-2528LincolnPark                                                   ORDER NO.: 00353876-990-TEO-MJ1


                                                     EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION TO
THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes
         to be levied for the fiscal year 2022-2023.

2.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the
         provisions of Chapter 3.5 (commencing with Section 75) or Part 2, Chapter 3, Articles 3 and 4,
         respectively, of the Revenue and Taxation Code of the State of California as a result of the transfer of title
         to the vestee named in Schedule A or as a result of changes in ownership or new construction occurring
         prior to Date of Policy.

         Note: If said supplementals (if any) are not posted prior to the date of closing, this company assumes no
         liability for payment thereof.

3.       Water rights, claims or title to water, whether or not disclosed by the public records.

4.       Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed
         by the Public Records.

5.       Any easements not disclosed by those Public Records which impart constructive notice as to matters
         affecting title to real property and which are not visible and apparent from an inspection of the surface of
         said land.

6.       Matters contained in that certain document

         Entitled:                    Memorandum summarizing non-confidential provisions of a notice of intent to
                                      withdraw units from rental housing use
         Dated:                       October 25, 2018
         Executed by:                 Jinzheng Group (USA) LLC., a California Limited Liability Company
         Recording Date:              November 13, 2018
         Recording No.:               2018-1143616, of Official Records

         Reference is hereby made to said document for full particulars

7.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC., a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580412, of Official Records




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PRELIMINARY REPORT                                                                          Fidelity National Title Company
YOUR REFERENCE: 2526-2528LincolnPark                                                   ORDER NO.: 00353876-990-TEO-MJ1


                                                       EXCEPTIONS
                                                        (Continued)

         The Deed of Trust set forth above is purported to be a “Credit Line” Deed of Trust. Under California Civil
         Code §2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately provide
         the beneficiary with the “Borrower’s instruction to Suspend and Close Equity Line of Credit” or provide a
         satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account

         Affects: The herein described Land and other land.

8.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC., a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580413, of Official Records

         The Deed of Trust set forth above is purported to be a “Credit Line” Deed of Trust. Under California Civil
         Code §2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately provide
         the beneficiary with the “Borrower’s instruction to Suspend and Close Equity Line of Credit” or provide a
         satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.




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YOUR REFERENCE: 2526-2528LincolnPark                                                   ORDER NO.: 00353876-990-TEO-MJ1


                                                       EXCEPTIONS
                                                        (Continued)



9.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC., a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580414, of Official Records

         The Deed of Trust set forth above is purported to be a “Credit Line” Deed of Trust. Under California Civil
         Code §2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately provide
         the beneficiary with the “Borrower’s instruction to Suspend and Close Equity Line of Credit” or provide a
         satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

10.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580415, of Official Records

         The Deed of Trust set forth above is purported to be a “Credit Line” Deed of Trust. Under California Civil
         Code §2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately provide
         the beneficiary with the “Borrower’s instruction to Suspend and Close Equity Line of Credit” or provide a
         satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.



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YOUR REFERENCE: 2526-2528LincolnPark                                                  ORDER NO.: 00353876-990-TEO-MJ1


                                                        EXCEPTIONS
                                                         (Continued)

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         Affects: The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211936, of Official Records

         A Notice of Default under the terms of said trust deed

         Executed By:                 Best Alliance Foreclosure and Lien Services
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211937, of Official Records

      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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YOUR REFERENCE: 2526-2528LincolnPark         Exhibit 1 Page 63 of 108     ORDER NO.: 00353876-990-TEO-MJ1


                                              REQUIREMENTS SECTION


1.       In order to complete this report, the Company requires a Statement of Information to be completed by the
         following party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the
         requested Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under
         this order. Any title search includes matters that are indexed by name only, and having a completed
         Statement of Information assists the Company in the elimination of certain matters which appear to
         involve the parties but in fact affect another party with the same or similar name. Be assured that the
         Statement of Information is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance
         predicated upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company: Jinzheng Group (USA) LLC, a California Limited Liability Company

         a)      A copy of its operating agreement, if any, and any and all amendments, supplements and/or
         modifications thereto, certified by the appropriate manager or member

         b)    If a domestic Limited Liability Company, a copy of its Articles of Organization and all
         amendments thereto with the appropriate filing stamps

         c)       If the Limited Liability Company is member-managed, a full and complete current list of members
         certified by the appropriate manager or member

         d)      A current dated certificate of good standing from the proper governmental authority of the state in
         which the entity was created

         e)       If less than all members, or managers, as appropriate, will be executing the closing documents,
         furnish evidence of the authority of those signing.

         The Company reserves the right to add additional items or make further requirements after review of the
         requested documentation

                                                     END OF REQUIREMENTS




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                                        INFORMATIONAL NOTES SECTION

1.       Notice: Please be aware that due to the conflict between federal and state laws concerning the
         cultivation, distribution, manufacture or sale of marijuana, the Company is not able to close or insure any
         transaction involving Land that is associated with these activities.

2.       None of the items shown in this report will cause the Company to decline to attach ALTA Endorsement
         Form 9 to an Extended Coverage Loan Policy, when issued.

3.       Note: The Company is not aware of any matters which would cause it to decline to attach CLTA
         Endorsement Form 116 indicating that there is located on said Land a Multiple Family Dwelling, known as
         2526-2528 Lincoln Park Avenue, Los Angeles, California to an Extended Coverage Loan Policy.

4.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may
         demand arbitration provision. Arbitrable matters may include, but are not limited to any controversy or
         claim between the Company and the insured arising out of or relating to this policy, any service of the
         Company in connection with its issuance or the breach of a policy provision or other obligation. Please
         ask your escrow or title officer for a sample copy of the policy to be issued if you wish to review the
         arbitration provisions and any other provisions pertaining to your Title Insurance Coverage.

5.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

6.       Note: Property taxes for the fiscal year shown below are PAID. For proration purposes the amounts were:

         Tax Identification No.:      5208-025-001
         Fiscal Year:                 2021-2022
         1st Installment:             $5,595.99
         2nd installment:             $5,595.98
         Exemption:                   $0.00
         Land:                        $675,487.00
         Improvements:                $225,161.00
         Code Area:                   00004
         Personal Property:           $0.00

7.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a
         Documentary Transfer Tax (DTT) Affidavit may be required to be completed and submitted with each
         document when DTT is being paid or when an exemption is being claimed from paying the tax. If a
         governmental agency is a party to the document, the form will not be required. DTT Affidavits may be
         available at a Tax Assessor-County Clerk-Recorder.

8.       The Company and its policy issuing agents are required by Federal law to collect additional information
         about certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this
         transaction is required to be reported under a Geographic Targeting Order issued by FinCEN, the
         Company or its policy issuing agent must be supplied with a completed ALTA Information Collection Form
         ("ICF") prior to closing the transaction contemplated herein.

9.       Due to the special requirements of SB 50 (California Public Resources Code Section 8560 et seq.), any
         transaction that includes the conveyance of title by an agency of the United States must be approved in
         advance by the Company's State Counsel, Regional Counsel, or one of their designees.

10.      Unless this company is in receipt of WRITTEN instructions authorizing a particular policy, Fidelity Title will
         AUTOMATICALLY issue the American Land Title Association Homeowner's Policy (02/03/10) for all
         qualifying residential 1-4 properties/transactions to insure the buyer at the close of escrow.




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CLTA Preliminary Report Form – Modified (11/17/06)                                                               Page 1
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PRELIMINARY REPORT                                                              Fidelity National Title Company
YOUR REFERENCE: 2526-2528LincolnPark         Exhibit 1 Page 65 of 108     ORDER NO.: 00353876-990-TEO-MJ1


                                               INFORMATIONAL NOTES
                                                      (Continued)

11.      If a county recorder, title insurance company, escrow company, real estate broker, real estate agent or
         association provides a copy of a declaration, governing document or deed to any person, California law
         requires that the document provided shall include a statement regarding any unlawful restrictions. Said
         statement is to be in at least 14-point bold face type and may be stamped on the first page of any
         document provided or included as a cover page attached to the requested document. Should a party to
         this transaction request a copy of any document reported herein that fits this category, the statement is to
         be included in the manner described.

12.      Any documents being executed in conjunction with this transaction must be signed in the presence of an
         authorized Company employee, an authorized employee of an agent, an authorized employee of the
         insured lender, or by using Bancserv or other approved third party service. If the above requirements
         cannot be met, please call the Company at the number provided in this report

13.      NOTE: Amended Civil Code Section 2941, which becomes effective on January 1, 2002, sets the fee for
         the processing and recordation of the reconveyance of each Deed of Trust being paid off through this
         transaction at $45.00. The reconveyance fee must be clearly set forth in the Beneficiary's Payoff Demand
         Statement ("Demand"). In addition, an assignment or authorized release of that fee, from the Beneficiary
         to the Trustee of record, must be included. An example of the required language is as follows:

         The Beneficiary identified above hereby assigns, releases or transfers to the Trustee of record, the sum
         of $45.00, included herein as 'Reconveyance Fees', for the processing and recordation of the
         Reconveyance of the Deed of Trust securing the indebtedness covered hereby, and the escrow company
         or title company processing this pay-off is authorized to deduct the Reconveyance Fee from this Demand
         and forward said fee to the Trustee of record or the successor Trustee under the Trust Deed to be paid
         off in full.

         In the event that the reconveyance fee and the assignment, release or transfer are not included within the
         demand statement, then Fidelity National Title Insurance Company and its Underwritten Agent may
         decline to process the reconveyance and will be forced to return all documentation directly to the
         Beneficiary for compliance with the requirements of the revised statute.

14.      Note: Part of the RESPA Rule to simplify and Improve the Process of Obtaining Mortgages and Reduce
         Consumer Settlement Costs requires the settlement agent to disclose the agent and underwriter split of
         title premiums, including endorsements as follows:

         Line 1107 is used to record the amount of the total title insurance premium, including endorsements, that
         is retained by the title agent. Fidelity National Title Company retains 88% of the total premium and
         endorsements.

         Line 1108 used to record the amount of the total title insurance premium, including endorsements, that is
         retained by the title underwriter. Fidelity National Title Insurance Company retains 12% of the total
         premium and endorsements.




                                             END OF INFORMATIONAL NOTES

Joseph Mansueto/1hr




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                                                     Exhibit 1 Page 66 of 108




                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                             79                                             WIRE0016 (DSI Rev. 12/07/17)
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective August 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

FNF Privacy Statement (Eff. August 1, 2021)
                                                                  80      Copyright © 2021. Fidelity National Financial, Inc. All Rights Reserved
MISC0219 (DSI Rev. 07/29/21)                                     Page 1                                     Order No. 00353876-990-TEO-MJ1
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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 714-2710 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.




FNF Privacy Statement (Eff. August 1, 2021)
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MISC0219 (DSI Rev. 07/29/21)                                      Page 2                                     Order No. 00353876-990-TEO-MJ1
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Your Consent To This Privacy Notice; Notice Changes
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 714-2710 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                         601 Riverside Avenue,
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               Exhibit 1 Page 70 of 108
          Fidelity National Title Company
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                              Last Saved: June 10, 2022 by 1HR
MISC0164 (DSI Rev. 03/12/20)                                    83                       Escrow No.: 00353876-990-TEO-MJ1
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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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          Fidelity National Title Company
                                     Exhibit 1 Page 77 of 108
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822

                                                   STATEMENT OF INFORMATION
                                         CONFIDENTIAL INFORMATION FOR YOUR PROTECTION
 Escrow No.:        00353876-990-TEO-MJ1                                                                           Title No.:
Completion of this statement expedites your application for title insurance, as it assists in establishing identity, eliminating matters affecting persons with
similar names and avoiding the use of fraudulent or forged documents. Complete all blanks (please print) or indicate “none” or “N/A”. If more space is
needed for any item(s), use the reverse side of the form. Each party (and spouse/domestic partner, if applicable) to the transaction should personally
sign this form.
                                                         NAME AND PERSONAL INFORMATION
                                                                                                                           Date of Birth:
 First Name                      Middle/Maiden Name (if none, indicate)            Last Name
 Home Phone:                                         Business Phone:                                                     Birthplace:
 Cell Phone:                                         Fax:                                                               Email:
 Social Security No.:                                                                    Driver’s License No.:
 List any other name you have used or been known by:
 State of residence:                                                                     I have lived continuously in the U.S.A. since
 Are you currently married?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Date and place of marriage:
      Spouse:                                                                                                              Date of Birth:
                    First Name            Middle/Maiden Name (if none, indicate)        Last Name
      Home Phone:                                               Business Phone:                                            Birthplace:
      Cell Phone:                                               Fax:                                                       Email:
      Social Security No.:                                                                      Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                               I have lived continuously in the U.S.A. since

 Are you currently a registered domestic partner?                         IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Domestic Partner:                                                                                                    Date of Birth:
                                 First Name        Middle/Maiden Name (if none, indicate)       Last Name
      Home Phone:                                               Business Phone:                                            Birthplace:
      Cell Phone:                                               Fax:                                                       Email:
      Social Security No.:                                                                      Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                                I have lived continuously in the U.S.A. since


                                                                            CHILDREN
 Child Name:                                      Date of Birth:                    Child Name:                                        Date of Birth:
 Child Name:                                      Date of Birth:                    Child Name:                                        Date of Birth:

                                                         (if more space is required, use reverse side of form)

                                                               RESIDENCES (LAST 10 YEARS)

 Number & Street                                  City                                                              From (date) to (date)


 Number & Street                                  City                                                              From (date) to (date)
                                                         (if more space is required, use reverse side of form)

                                                   OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

 Firm or Business Name                            Address                                                           From (date) to (date)


 Firm or Business Name                            Address                                                           From (date) to (date)
                                                         (if more space is required, use reverse side of form)



Statement of Information                                                           90                                       Last Saved: 6/10/2022 4:43 AM by 1HR
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                           SPOUSE’S/DOMESTIC PARTNER’S OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

Firm or Business Name                              Address                                                       From (date) to (date)


Firm or Business Name                              Address                                                       From (date) to (date)
                                                     (if more space is required, use reverse side of form)

                                                                  PRIOR MARRIAGE(S)
Any prior marriages for either spouse?                            IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior spouse’s (Party A) name:                                                        Prior Spouse of Party A:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
     Prior spouse’s (Party B) name:                                                        Prior Spouse of Party B:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
                                                     (if more space is required, use reverse side of form)

                                                        PRIOR DOMESTIC PARTNERSHIP(S)
Any prior domestic partnerships for either person?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior partner’s name:                                                                 Prior Partner:
             Partnership ended by:  Death  Dissolution             Nullification      Termination Date of Death/Dissolution/etc.:
             Prior partner’s name:                                                              Prior Partner:
             Partnership ended by:  Death  Dissolution  Nullification  Termination Date of Death/Dissolution/etc.:
                                             (if more space is required, use reverse side of form)

                                                       INFORMATION ABOUT THE PROPERTY
Buyer intends to reside on the property in this transaction:            Yes              No

                                                  OWNER TO COMPLETE THE FOLLOWING ITEMS
Street Address of Property in this transaction:
The land is     unimproved; or improved with a structure of the following type:  A Single or 1-4 Family          Condo Unit            Other
Improvements, remodeling or repairs to this property have been made within the past six (6) months:             Yes       No
If yes, have all costs for labor and materials arising in connection therewith been paid in full?               Yes       No
Any current loans on property?                     IF YES, COMPLETE THE FOLLOWING INFORMATION:
Lender:                                              Loan Amount:                                       Loan Account No.:
Lender:                                              Loan Amount:                                       Loan Account No.:
The undersigned declare, under penalty of perjury, that the foregoing is true and correct.
IN WITNESS WHEREOF, the undersigned have executed this document on the date(s) set forth below.


Signature                                                                        Date



Print Name



Signature                                                                        Date



Print Name

                                     (NOTE: IF APPLICABLE, BOTH SPOUSES/DOMESTIC PARTNERS MUST SIGN.)
                                                                        THANK YOU.




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           Fidelity National Title Company
           3878 W Carson Street, Suite 225, Torrance, CA 90503
           Phone: (310) 620-5521 ● Fax: (310) 316-7822




                       CREDIT LINE / EQUITY LINE OF CREDIT CLOSURE REQUEST
Date: ___________________________

To:      ___________________________

         ___________________________

         ___________________________

         ___________________________

Attention: Payoff Dept.
Reference: Account/Loan # ___________________________________________________________________
Property Address:       2526-2528 Lincoln Park Avenue, Los Angeles, CA 90031


To Whom It May Concern:

Please accept this letter as a request to close/freeze the above-referenced credit line or equity line of credit as of
this date.

I/We agree not to request any advances on this account on or after the date of this letter.

You will be receiving payment in full from the proceeds of our escrow transaction. Upon receipt of payoff, please
send your Reconveyance or Release of Lien to:

Fidelity National Title Company
3878 W Carson Street, Suite 225
Torrance, CA 90503
Attn: Joseph Mansueto
Ref: 00353876-990-MJ1

Sincerely,

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

(All borrowers must sign)




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Under 31 U.S.C. § 5326(a), the Treasury Department’s Financial Crimes Enforcement Network (FinCEN) issued a
Geographic Targeting Order to title insurance companies requiring the collection of beneficial ownership
information for certain real estate transactions.
Please complete the below questionnaire. This Company will rely on the answers provided to meet its reporting
obligations.
Who is completing this form?

Name                                           Position/Title                               Company/Law Firm


Postal Address (Headquarters                   City                                         State             Zip


Phone                                          Email                                        Fax



Transactional Information

Property Address (If Multiple properties see NOTE below):


City                                                                    State         Zip                County


Date of Settlement                   Total purchase price (if multiple properties see NOTE below)


Type of Transaction:       Residential (1-4 family)             Commercial            Bank Financing:         Yes  No

Purchase type:      Natural Person            Corporation          LLC              Partnership           Other


NOTE: If more than one property is purchased, list each address and purchase price as an addendum.
Purchase Funds Information

Total Amount paid by below instruments: $

Which type of Monetary Instruments were used (Use check boxes below)

 U.S. Currency (Paper money & coin)

 Foreign Currency                                                   Country:

 Cashier’s check(s)                                                  Money order(s)

 Certified check(s)                                                  Personal or Business check(s)

 Wire or other funds transfer(s)                                     Virtual Currency




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Individual Primarily Representing Purchaser
(Define as the individual authorized by the entity to enter into legally binding contracts).

Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)
Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip


Purchasing Entity Name & Address
Name of Purchaser


Taxpayer ID Number or EIN (If none write N/A)                             Doing Business Name (DBA) (if none write N/A)



Address                                          City                                                State       Zip




Complete the information below if the real estate purchase is being made by a corporation, LLC,
partnership, other legal entity. (Do not report trusts.)
For Corporations, LLCs, Partnerships and Other Entities provide the information for:
        Each BENEFICIAL OWNER defined as an individual who, directly or indirectly, owns 25% or more of
          the equity interests of the Purchaser.
               If a legal entity or a series of legal entities own the equity interests of the Purchaser, provide
                information for each BENEFICIAL OWNER, of each legal entity in the series of legal entities.
(Note: It is NOT necessary to complete the address fields if the information is on a legible copy of the government
issued ID submitted to the title company.)




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Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip


Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip


Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip



Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)

Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip




Attach Legible copy of government issued identification (i.e., passport, driver’s license, etc.)
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Type of ID                                    Issuing State or Country                   Gov’t ID Number


Last Name                                                  First Name                                            M.I.


Date of Birth                    Occupation                       Individual Taxpayer ID # (if none write N/A)   % of ownership


Address                                          City                                                State       Zip




I declare that to the best of my knowledge, the information I have furnished is true, correct and complete. I understand that this
Title Company will rely on this information for the purposes of completing any reports made pursuant to an obligation under 31
U.S.C. § 5326(a),


Signature:                                                         Date:

Type or Print Name:                                                Title:




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                                      Exhibit 1 Page 84 of 108             Fidelity National Title - LA
                                                       3878 W Carson Street, Suite 225, Torrance, CA
                                                                                                 90503

                                     Preliminary Report

Fidelity National Title - LA                                                 Title Officer: Joseph Mansueto
3878 W Carson Street, Suite 225, Torrance, CA                                     Email: JoesTeam@fnf.com
90503                                                                            Phone No.: (310) 620-5522
Phone: (310) 620-5522                                                    File No.: 00353879-990-TEO-MJ1

Your Reference No: 2602 Lincoln Park Av
Property Address: Vacant Land, CA




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
          to all information related to a title insurance transaction.
          Access title reports, exception documents, an easy-to-use summary page, and more,
          at your fingertips and your convenience.

               To view your new Fidelity National Title First Alert powered by
                               LiveLOOK report, Click Here




                           Effortless, Efficient, Compliant, and Accessible




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         Fidelity National Title Company
         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                               Issuing Policies of Fidelity National Title Insurance Company

                                                                              ORDER NO.: 00353879-990-TEO-MJ1
                                                                                                    LOAN NO.:
Title Officer: Joseph Mansueto
Phone: (310) 620-5522
Fax: (310) 316-7822
Email: JoesTeam@fnf.com

Glen Oaks Escrow
13949 Ventura Blvd, #320
Sherman Oaks, CA 91423

ATTN:              Marcine Kline
YOUR REF:          2602 Lincoln Park Av

PROPERTY:          Vacant Land, CA


                                                 PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company
hereby reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title
insurance describing the land and the estate or interest therein hereinafter set forth, insuring against loss which
may be sustained by reason of any defect, lien or encumbrance not shown or referred to as an exception herein
or not excluded from coverage pursuant to the printed Schedules, Conditions and Stipulations or Conditions of
said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or
policies are set forth in Attachment One. The policy to be issued may contain an arbitration clause. When the
Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at
the option of either the Company or the Insured as the exclusive remedy of the parties. Limitations on Covered
Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title Insurance which establish a Deductible
Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in Attachment One.
Copies of the policy forms should be read. They are available from the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed
prior to the issuance of a policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance
Company, a Florida corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in
Attachment One of this report carefully. The exceptions and exclusions are meant to provide you with
notice of matters which are not covered under the terms of the title insurance policy and should be
carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects and encumbrances affecting title to the land.
Countersigned by:


Authorized Signature




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         Fidelity National Title Company
         3878 W Carson Street, Suite 225, Torrance, CA 90503
         Phone: (310) 620-5521




                                                 PRELIMINARY REPORT


EFFECTIVE DATE:                       May 25, 2022 at 7:30 a.m.

ORDER NO.: 00353879-990-TEO-MJ1

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO
         COVERED BY THIS REPORT IS:

         A FEE

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Jinzheng Group (USA) LLC, a California Limited Liability Company

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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PRELIMINARY REPORT                                                              Fidelity National Title Company
YOUR REFERENCE: 2602 Lincoln Park Av                                       ORDER NO.: 00353879-990-TEO-MJ1


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, COUNTY OF
LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

LOT 7, BLOCK "E" OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 14, PAGES 3 AND 4, OF MISCELLANEOUS
RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

EXCEPT THE EASTERLY 70 FEET THEREOF.

ALSO EXCEPT THOSE PORTIONS OF SAID LAND CONVEYED TO THE CITY OF LOS ANGELES, FOR
STREET PURPOSES.

APN: 5208-025-014




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YOUR REFERENCE: 2602 Lincoln Park Av                                                   ORDER NO.: 00353879-990-TEO-MJ1


                                                     EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION TO
THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes
         to be levied for the fiscal year 2022-2023.

2.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the
         provisions of Chapter 3.5 (commencing with Section 75) or Part 2, Chapter 3, Articles 3 and 4,
         respectively, of the Revenue and Taxation Code of the State of California as a result of the transfer of title
         to the vestee named in Schedule A or as a result of changes in ownership or new construction occurring
         prior to Date of Policy.

         Note: If said supplementals (if any) are not posted prior to the date of closing, this company assumes no
         liability for payment thereof.

3.       Water rights, claims or title to water, whether or not disclosed by the public records.

4.       Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not
         limited to those based upon age, race, color, religion, sex, gender, gender identity, gender expression,
         sexual orientation, marital status, national origin, ancestry, familial status, source of income, disability,
         veteran or military status, genetic information, medical condition, citizenship, primary language, and
         immigration status, as set forth in applicable state or federal laws, except to the extent that said covenant
         or restriction is permitted by applicable law, as set forth in the document

         Recording No:                Book 3464, Page 155, of Official Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any
         mortgage or deed of trust made in good faith and for value.

5.       Easement(s) for the purpose(s) shown below and rights incidental thereto as reserved in a document;

         Reserved by:                 Claude Carleton Cunningham and Fidella Gold Cunningham
         Purpose:                     Sewer, gas, and water lines
         Recording Date:              August 5, 1924
         Recording No.:               Book 3464, Page 155, of Official Records
         Affects:                     Said land

6.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $115,000.00
         Dated:                       September 3, 2019
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     North American Title Company
         Beneficiary:                 Michael E. Dorff and Shari L. Dorff, as joint tenants
         Loan No.:                    None Shown
         Recording Date:              September 6, 2019
         Recording No:                2019-913224, of Official Records

         This Company will require that the original note, the original deed of trust and a properly executed request
         for full reconveyance together with appropriate documentation (i.e., copy of trust, partnership agreement
         or corporate resolution) be in this office prior to the close of this transaction if the above-mentioned item is
         to be paid through this transaction or deleted from a policy of title insurance.




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                                                       EXCEPTIONS
                                                        (Continued)

         Any demands submitted to us for payoff must be signed by all beneficiaries as shown on said deed of
         trust, and/or any assignments thereto. In the event said demand is submitted by an agent of the
         beneficiary(s), we will require the written approval of the demand by the beneficiary(s). Servicing
         agreements do not constitute approval for the purposes of this requirement.

         If no amounts remain due under the obligation a zero balance demand will be required along with the
         reconveyance documents.

         In addition, we require the written approval of said demand by the trustor(s) on said deed of trust or the
         current owners if applicable.

         Affects: The herein described Land and other land.

7.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580412, of Official Records

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Affects: The herein described Land and other land.




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                                                       EXCEPTIONS
                                                        (Continued)




8.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580413, of Official Records

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Affects: The herein described Land and other land.

9.       A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580414, of Official Records

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.



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                                                       EXCEPTIONS
                                                        (Continued)

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.


         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Affects: The herein described Land and other land.

10.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $7,000,000.00
         Dated:                       November 25, 2020
         Trustor/Grantor:             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                     Royalty Equity Lending, LLC
         Beneficiary:                 Royalty Equity Lending, LLC, a California Limited Liability Company as to an
                                      undivided 100.000% Interest
         Loan No.:                    None Shown
         Recording Date:              December 4, 2020
         Recording No:                2020-1580415, of Official Records

         Said deed of trust recites that it is subordinate to the trust deed recorded concurrently therewith.

         The Deed of Trust set forth above is purported to be a "Credit Line" Deed of Trust. Under California Civil
         Code Section 2943.1 it is a requirement that the Trustor/Grantor of said Deed of Trust either immediately
         provide the beneficiary with the "Borrower's instruction to Suspend and Close Equity Line of Credit" or
         provide a satisfactory subordination of this Deed of Trust to the proposed Deed of Trust to be recorded at
         closing.

         If the above credit line is being paid off, this Company will require that Escrow obtain written confirmation
         from the current Beneficiary that the account has been frozen prior to recording. Failure to do so will
         result in this Company holding funds at the close of Escrow until such confirmation is obtained from the
         Beneficiary.

         This mortgage appears to be an equity line mortgage. A full satisfaction of same must be obtained and all
         credit cards and/or the balance of verified unused account checks must be sent to the lender together
         with a 'cancellation of equity line affidavit' from the mortgagor instructing the lender to close the account.

         Affects: The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211936, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)




         A Notice of Default under the terms of said trust deed

         Executed By:                 Best Alliance Foreclosure and Lien Services Corp.
         Recording Date:              August 6, 2021
         Recording No.:               2021-1211937, of Official Records

      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION


1.       In order to complete this report, the Company requires a Statement of Information to be completed by the
         following party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the
         requested Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under
         this order. Any title search includes matters that are indexed by name only, and having a completed
         Statement of Information assists the Company in the elimination of certain matters which appear to
         involve the parties but in fact affect another party with the same or similar name. Be assured that the
         Statement of Information is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance
         predicated upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company: Jinzheng Group (USA) LLC

         a)      A copy of its operating agreement, if any, and any and all amendments, supplements and/or
         modifications thereto, certified by the appropriate manager or member

         b)    If a domestic Limited Liability Company, a copy of its Articles of Organization and all
         amendments thereto with the appropriate filing stamps

         c)       If the Limited Liability Company is member-managed, a full and complete current list of members
         certified by the appropriate manager or member

         d)      A current dated certificate of good standing from the proper governmental authority of the state in
         which the entity was created

         e)       If less than all members, or managers, as appropriate, will be executing the closing documents,
         furnish evidence of the authority of those signing.

         The Company reserves the right to add additional items or make further requirements after review of the
         requested documentation

                                                     END OF REQUIREMENTS




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                                        INFORMATIONAL NOTES SECTION

1.       Notice: Please be aware that due to the conflict between federal and state laws concerning the
         cultivation, distribution, manufacture or sale of marijuana, the Company is not able to close or insure any
         transaction involving Land that is associated with these activities.

2.       None of the items shown in this report will cause the Company to decline to attach ALTA Endorsement
         Form 9 to an Extended Coverage Loan Policy, when issued.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may
         demand arbitration provision. Arbitrable matters may include, but are not limited to any controversy or
         claim between the Company and the insured arising out of or relating to this policy, any service of the
         Company in connection with its issuance or the breach of a policy provision or other obligation. Please
         ask your escrow or title officer for a sample copy of the policy to be issued if you wish to review the
         arbitration provisions and any other provisions pertaining to your Title Insurance Coverage.

4.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

5.       Note: Property taxes for the fiscal year shown below are PAID. For proration purposes the amounts were:

         Tax Identification No.:      5208-025-014
         Fiscal Year:                 2021-2022
         1st Installment:             $5,100.84
         2nd installment:             $5,100.84
         Exemption:                   $0.00
         Land:                        $788,383.00
         Improvements:                $0.00
         Code Area:                   00004
         Personal Property:           $0.00

6.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a
         Documentary Transfer Tax (DTT) Affidavit may be required to be completed and submitted with each
         document when DTT is being paid or when an exemption is being claimed from paying the tax. If a
         governmental agency is a party to the document, the form will not be required. DTT Affidavits may be
         available at a Tax Assessor-County Clerk-Recorder.

7.       Due to the special requirements of SB 50 (California Public Resources Code Section 8560 et seq.), any
         transaction that includes the conveyance of title by an agency of the United States must be approved in
         advance by the Company's State Counsel, Regional Counsel, or one of their designees.

8.       Unless this company is in receipt of WRITTEN instructions authorizing a particular policy, Fidelity Title will
         AUTOMATICALLY issue the American Land Title Association Homeowner's Policy (02/03/10) for all
         qualifying residential 1-4 properties/transactions to insure the buyer at the close of escrow.

9.       If a county recorder, title insurance company, escrow company, real estate broker, real estate agent or
         association provides a copy of a declaration, governing document or deed to any person, California law
         requires that the document provided shall include a statement regarding any unlawful restrictions. Said
         statement is to be in at least 14-point bold face type and may be stamped on the first page of any
         document provided or included as a cover page attached to the requested document. Should a party to
         this transaction request a copy of any document reported herein that fits this category, the statement is to
         be included in the manner described.

10.      Any documents being executed in conjunction with this transaction must be signed in the presence of an
         authorized Company employee, an authorized employee of an agent, an authorized employee of the
         insured lender, or by using Bancserv or other approved third party service. If the above requirements
         cannot be met, please call the Company at the number provided in this report



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                                               INFORMATIONAL NOTES
                                                      (Continued)

11.      NOTE: Amended Civil Code Section 2941, which becomes effective on January 1, 2002, sets the fee for
         the processing and recordation of the reconveyance of each Deed of Trust being paid off through this
         transaction at $45.00. The reconveyance fee must be clearly set forth in the Beneficiary's Payoff Demand
         Statement ("Demand"). In addition, an assignment or authorized release of that fee, from the Beneficiary
         to the Trustee of record, must be included. An example of the required language is as follows:

         The Beneficiary identified above hereby assigns, releases or transfers to the Trustee of record, the sum
         of $45.00, included herein as 'Reconveyance Fees', for the processing and recordation of the
         Reconveyance of the Deed of Trust securing the indebtedness covered hereby, and the escrow company
         or title company processing this pay-off is authorized to deduct the Reconveyance Fee from this Demand
         and forward said fee to the Trustee of record or the successor Trustee under the Trust Deed to be paid
         off in full.

         In the event that the reconveyance fee and the assignment, release or transfer are not included within the
         demand statement, then Fidelity National Title Insurance Company and its Underwritten Agent may
         decline to process the reconveyance and will be forced to return all documentation directly to the
         Beneficiary for compliance with the requirements of the revised statute.

12.      Note: Part of the RESPA Rule to simplify and Improve the Process of Obtaining Mortgages and Reduce
         Consumer Settlement Costs requires the settlement agent to disclose the agent and underwriter split of
         title premiums, including endorsements as follows:

         Line 1107 is used to record the amount of the total title insurance premium, including endorsements, that
         is retained by the title agent. Fidelity National Title Company retains 88% of the total premium and
         endorsements.

         Line 1108 used to record the amount of the total title insurance premium, including endorsements, that is
         retained by the title underwriter. Fidelity National Title Insurance Company retains 12% of the total
         premium and endorsements.




                                             END OF INFORMATIONAL NOTES

Joseph Mansueto/1rm




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                           109                                              WIRE0016 (DSI Rev. 12/07/17)
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective August 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 714-2710 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.




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Your Consent To This Privacy Notice; Notice Changes
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 714-2710 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                         601 Riverside Avenue,
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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          Fidelity National Title Company
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                             Last Saved: June 10, 2022 by 1RM
MISC0164 (DSI Rev. 03/12/20)                                    113                      Escrow No.: 00353879-990-TEO-MJ1
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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 2
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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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          Fidelity National Title Company
                                    Exhibit 1 Page 106 of 108
          3878 W Carson Street, Suite 225, Torrance, CA 90503
          Phone: (310) 620-5521 ● Fax: (310) 316-7822

                                                   STATEMENT OF INFORMATION
                                         CONFIDENTIAL INFORMATION FOR YOUR PROTECTION
 Escrow No.:        00353879-990-TEO-MJ1                                                                          Title No.:
Completion of this statement expedites your application for title insurance, as it assists in establishing identity, eliminating matters affecting persons with
similar names and avoiding the use of fraudulent or forged documents. Complete all blanks (please print) or indicate “none” or “N/A”. If more space is
needed for any item(s), use the reverse side of the form. Each party (and spouse/domestic partner, if applicable) to the transaction should personally
sign this form.
                                                         NAME AND PERSONAL INFORMATION
                                                                                                                          Date of Birth:
 First Name                      Middle/Maiden Name (if none, indicate)            Last Name
 Home Phone:                                         Business Phone:                                                    Birthplace:
 Cell Phone:                                         Fax:                                                              Email:
 Social Security No.:                                                                    Driver’s License No.:
 List any other name you have used or been known by:
 State of residence:                                                                     I have lived continuously in the U.S.A. since
 Are you currently married?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Date and place of marriage:
      Spouse:                                                                                                             Date of Birth:
                    First Name            Middle/Maiden Name (if none, indicate)        Last Name
      Home Phone:                                               Business Phone:                                           Birthplace:
      Cell Phone:                                               Fax:                                                      Email:
      Social Security No.:                                                                     Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                              I have lived continuously in the U.S.A. since

 Are you currently a registered domestic partner?                         IF YES, COMPLETE THE FOLLOWING INFORMATION:
      Domestic Partner:                                                                                                   Date of Birth:
                                 First Name        Middle/Maiden Name (if none, indicate)      Last Name
      Home Phone:                                               Business Phone:                                           Birthplace:
      Cell Phone:                                               Fax:                                                      Email:
      Social Security No.:                                                                     Driver’s License No.:
      List any other name you have used or been known by:
      State of residence:                                                                I have lived continuously in the U.S.A. since


                                                                            CHILDREN
 Child Name:                                      Date of Birth:                    Child Name:                                       Date of Birth:
 Child Name:                                      Date of Birth:                    Child Name:                                       Date of Birth:

                                                         (if more space is required, use reverse side of form)

                                                               RESIDENCES (LAST 10 YEARS)

 Number & Street                                  City                                                              From (date) to (date)


 Number & Street                                  City                                                              From (date) to (date)
                                                         (if more space is required, use reverse side of form)

                                                   OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

 Firm or Business Name                            Address                                                           From (date) to (date)


 Firm or Business Name                            Address                                                           From (date) to (date)
                                                         (if more space is required, use reverse side of form)



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                           SPOUSE’S/DOMESTIC PARTNER’S OCCUPATIONS/BUSINESSES (LAST 10 YEARS)

Firm or Business Name                              Address                                                       From (date) to (date)


Firm or Business Name                              Address                                                       From (date) to (date)
                                                     (if more space is required, use reverse side of form)

                                                                  PRIOR MARRIAGE(S)
Any prior marriages for either spouse?                            IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior spouse’s (Party A) name:                                                        Prior Spouse of Party A:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
     Prior spouse’s (Party B) name:                                                        Prior Spouse of Party B:
     Marriage ended by:             Death             Divorce                            Date of Death/Divorce:
                                                     (if more space is required, use reverse side of form)

                                                        PRIOR DOMESTIC PARTNERSHIP(S)
Any prior domestic partnerships for either person?                   IF YES, COMPLETE THE FOLLOWING INFORMATION:
     Prior partner’s name:                                                                 Prior Partner:
             Partnership ended by:  Death  Dissolution             Nullification      Termination Date of Death/Dissolution/etc.:
             Prior partner’s name:                                                              Prior Partner:
             Partnership ended by:  Death  Dissolution  Nullification  Termination Date of Death/Dissolution/etc.:
                                             (if more space is required, use reverse side of form)

                                                       INFORMATION ABOUT THE PROPERTY
Buyer intends to reside on the property in this transaction:            Yes              No

                                                  OWNER TO COMPLETE THE FOLLOWING ITEMS
Street Address of Property in this transaction:
The land is     unimproved; or improved with a structure of the following type:  A Single or 1-4 Family          Condo Unit            Other
Improvements, remodeling or repairs to this property have been made within the past six (6) months:             Yes       No
If yes, have all costs for labor and materials arising in connection therewith been paid in full?               Yes       No
Any current loans on property?                     IF YES, COMPLETE THE FOLLOWING INFORMATION:
Lender:                                              Loan Amount:                                       Loan Account No.:
Lender:                                              Loan Amount:                                       Loan Account No.:
The undersigned declare, under penalty of perjury, that the foregoing is true and correct.
IN WITNESS WHEREOF, the undersigned have executed this document on the date(s) set forth below.


Signature                                                                        Date



Print Name



Signature                                                                        Date



Print Name

                                     (NOTE: IF APPLICABLE, BOTH SPOUSES/DOMESTIC PARTNERS MUST SIGN.)
                                                                        THANK YOU.




Statement of Information                                                    120                                       Last Saved: 6/10/2022 2:14 AM by 1RM
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           Fidelity National Title Company
           3878 W Carson Street, Suite 225, Torrance, CA 90503
           Phone: (310) 620-5521 ● Fax: (310) 316-7822




                       CREDIT LINE / EQUITY LINE OF CREDIT CLOSURE REQUEST
Date: ___________________________

To:      ___________________________

         ___________________________

         ___________________________

         ___________________________

Attention: Payoff Dept.
Reference: Account/Loan # ___________________________________________________________________
Property Address:       2602 Lincoln Park Avenue, Los Angeles, CA 90031


To Whom It May Concern:

Please accept this letter as a request to close/freeze the above-referenced credit line or equity line of credit as of
this date.

I/We agree not to request any advances on this account on or after the date of this letter.

You will be receiving payment in full from the proceeds of our escrow transaction. Upon receipt of payoff, please
send your Reconveyance or Release of Lien to:

Fidelity National Title Company
3878 W Carson Street, Suite 225
Torrance, CA 90503
Attn: Joseph Mansueto
Ref: 00353879-990-MJ1

Sincerely,

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

 ___________________________________________                      _____________________________________________

(All borrowers must sign)




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